           Case 09-31457                Doc 16        Filed 08/26/09 Entered 08/26/09 04:30:05                   Desc Main
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               FILED & JUDGMENT ENTERED
                        David E. Weich



                        Aug 26 2009


                 Clerk, U.S. Bankruptcy Court
                Western District of North Carolina




                                                     UNITED STATES BANKRUPTCY COURT
                                           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                                        Charlotte Division

IN RE:
                                                                                          Chapter 13
         YURII KOROTKOV
         IRYNA PAVLOVNA KOROTKOV                                                          CASE NO:      09-31457

         SSN#: XXX-XX-8440
         SSN#: XXX-XX-9624
                                                         ORDER CONFIRMING PLAN
THIS CAUSE COMING ON FOR HEARING BEFORE THE UNITED STATES BANKRUPTCY COURT for consideration
of a Chapter 13 plan proposed by the above-referenced debtors and upon the recommendation of the Chapter 13
trustee, the Court hereby finds and concludes as follows:

1. The debtors have proposed a plan, including all pre-confirmation modifications to the proposed plan as were filed, and
including any motions for valuation of security and lien avoidance as may be contained in the plan, all of which are
incorporated by reference herein.

2. Notice of the proposed plan, including any modifications to the plan and any motions as referenced hereinabove, was
properly given to all necessary parties in interest.

3. The proposed plan, with any modifications and motions included in the proposed plan, complies with all applicable
provisions of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

    Based upon the foregoing, IT IS HEREBY ORDERED as follows:

1. The proposed plan of the debtors, with any modifications, is CONFIRMED.

2. Any motions for valuation of security and/or lien avoidance are GRANTED.

3. The trustee shall receive and disburse funds pursuant to the terms of the confirmed plan, applicable provisions of title
11, U.S.C., and any relevant administrative orders of the Court now in effect and that may be entered in the future.
4. The plan payments and term are $660.00 monthly for 60 months.
5. Subject to review in February 2010 regarding 2009 income tax return.



Plan Summary Docket #(s):           5

This Order has been signed electronically.
                                                                          George R. Hodges
Pursuant to administrative order of the
                                                                          UNITED STATES BANKRUPTCY COURT
Court. Effective as of date of entry.
